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            In the United States Court of Federal Claims
                                  No. 13-24 C

                              (Filed June 14, 2013)

*********************
YUCCA VALLEY OASIS II,   *
LIMITED,                 *
                         *
              Plaintiff, *
                         *
         v.              *
                         *
THE UNITED STATES,       *
                         *
              Defendant. *
*********************

                                    ORDER

      On June 13, 2013, defendant filed a Third Unopposed Motion For
Enlargement of Time To Respond To Plaintiff’s Complaint in this matter. Therein,
defendant requests an enlargement of time of sixty days, to and including August
13, 2013, to respond to plaintiff’s complaint. For good cause shown, it is hereby
ORDERED that defendant’s motion is GRANTED.


                                           /s/Lynn J. Bush
                                           LYNN J. BUSH
